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 10   Hong Liu
                          UNITED STATES DISTRICT COURT FOR
 11
                        THE CENTRAL DISTRICT OF CALIFORNIA
 12                                   WESTERN DIVISION
 13
       HONG LIU,
 14                Plaintiff,
                                             Case No: 2:20-cv-08035-SVW-JPR
 15

 16                       v.                 DECLARATION OF HONG LIU
 17
       FARADAY&FUTURE INC.,
 18    SMART KINGLTD., JIAWEI
 19    WANG, and CHAOYING DENG
 20
                   Defendants.
 21

 22

 23    FARADAY&FUTURE INC.,
 24
                   Counterclaimant,
 25

 26                       v.
       HONG LIU,
 27
                   Counter-Defendant.
 28
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                                  DECLARATION OF HONG LIU
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  1
      I, Hong (“Henry”) Liu, declare as follows:
  2
            1.     I am the Plaintiff in this action.   I have personal knowledge of the facts
  3
      stated in this Declaration. If called upon to do so, I would testify competently thereto.
  4
            2.     I submit this Declaration in opposition to Defendants’ motion for summary
  5
      judgment and in support of Plaintiff’s cross-motion for partial summary judgment.
  6
      At Mayer Brown, I Did No Legal Work for FF
  7
            3.     Between April 28, 2014 and February 7, 2018, I was a partner at Mayer
  8
      Brown LLP (“Mayer Brown”). Throughout my time at Mayer Brown, I was based in its
  9
      New York office. I am, and was while working at Mayer Brown, admitted to practice
 10
      law in the state of New York. While at Mayer Brown I made $1.35 million in 2017.
 11
            4.     While employed by Mayer Brown, I advised numerous clients on a wide
 12

 13
      range of matters. During my entire career at Mayer Brown, I never provided any legal

 14
      advice to Faraday&Future Inc. (“FF”) on any matter. I never supervised the work of

 15
      other Mayer Brown attorneys on any matter in which Mayer Brown represented FF.

 16   While at Mayer Brown, I did not bill time to any matter in which Mayer Brown was
 17   representing FF.
 18         5.     At Mayer Brown, partners who originated a relationship with a particular
 19   client were designated as the “billing partner” for matters on which Mayer Brown
 20   represented any such client.    I was designated as the billing partner on twenty-four
 21   client matters. I never served as the billing partner on any matter involving FF.
 22   FF Approaches Me
 23         6.     On October 15, 2017, Mr. Junmin “Michael” Wang invited me to visit FF’s
 24   offices in California. In response to this invitation, on October 17 and 18, I met with
 25   representatives of FF in Los Angeles, including FF’s Vice President of Capital Markets
 26   Jiawei “Jerry” Wang, Michael Wang, FF’s Vice-President of Administration Chaoying
 27
      Deng, and FF’s then CEO Yueting Jia.
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            7.     During the October 17 and 18 meetings, Mr. Jia told me that it would be
  2
      advantageous to FF to have a person with my status and recognition. However, at that
  3
      time, although it was my impression that Mr. Jia desired me to consider joining FF, he
  4
      did not explicitly make any employment offer, and I did not entertain any discussion of
  5
      employment terms.
  6
            8.     At the time of the October 17 and 18 meetings, I understood that Mayer
  7
      Brown had previously done regulatory work for FF for which there was a substantial
  8
      unpaid balance (and that, at the time, Mayer Brown had suspended work for FF in light
  9
      of the unpaid balance). I learned that there were two previous engagement letters
 10
      between Mayer Brown and FF, entered into in December 2015 and May 2017.
 11
      Attached as Exhibit 1 is a true and correct copy of the May 31, 2017 engagement letter
 12

 13
      and attached as Exhibit 2 is a true and correct copy of the December 22, 2015

 14
      engagement letter. I also understood that Mr. Phil Recht, a Mayer Brown partner based

 15
      in its Los Angeles office, had supervised these engagements.

 16         9.     During my October 17 and 18 visits to FF’s offices, Mr. Jia indicated that
 17   FF would pay past due balances on Mayer Brown’s invoices. Mr. Jia also asked me to
 18   send a proposal to FF regarding Mayer Brown’s potential representation of FF on new
 19   matters, including a potential series A financing.
 20         10.    On October 20, 2017, in response to Mr. Jia’s request, I sent an email to FF
 21   attaching an unsigned draft engagement letter and proposed work plan. Attached as
 22   Exhibit 3 is a true and correct copy of this email. For over two months, FF did not sign
 23   this document.
 24   FF Sends me a Draft Term Sheet for the Employment Agreement
 25         11.    Shortly after I sent the above-referenced draft engagement letter on October
 26   20, 2017, Jerry Wang reached out to me to discuss whether I would be interested in
 27
      working at FF.
 28
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  1
            12.    On October 25, 2017, Mr. Wang sent me an email with two attachments.
  2
      The first attachment was a document entitled “DRAFT EMPLOYMENT
  3
      AGREEMENT TERM SHEET FOR HENRY L.” (the “Term Sheet”).                         The second
  4
      attachment was an Excel spreadsheet containing information under the heading “FF
  5
      Option Valuation Estimation.”     (the “Option Valuation”).     Attached as Exhibit 4 is a
  6
      true and correct copy of this email and the two attachments.
  7
            13.    The Term Sheet contained a proposal for me to serve as “Vice Chairman
  8
      and Global General Counsel of FF Inc.”     See Exhibit 4 at 7. It contained a number of
  9
      proposed terms, including “Annual salary and bonus of US$900,000 per year,” and
 10
      “20,000,000 (2%) of the fully diluted equity of the Company as stock option.”      See id.
 11
      I did not solicit the proposed equity interests in the Term Sheet.
 12

 13
            14.    The Option Valuation contained a range of estimated values for the 2%

 14
      equity stake that was referenced in the Term Sheet.      Id. at 5. The lowest estimated

 15
      value was $42.8 million, which was labeled as the “Series A Value.” See id. The next

 16   highest estimated value was between $100 and $150 million, which was labelled as the
 17   “Series B Value.” See id. The next highest estimated value was $432 million to $648
 18   million, which was labelled as the “IPO Value.”     See id. The highest estimated value
 19   was $1 billion, which was labelled as the “IPO 3 years Value.”       See id.
 20         15.    Between October 26 and 29, 2017, I had several conversations with Jerry
 21   Wang in which I verbally advised him that FF should seek independent counsel in
 22   connection with negotiating the terms of my potential employment at FF. During these
 23   conversations, Jerry Wang repeatedly assured me that FF had its own in-house legal
 24   department and would also seek advice from its outside counsel at Sidley Austin LLP in
 25   connection with negotiating the terms of my potential employment.
 26         16.    On October 29, 2017, Jerry Wang asked me to send him information
 27
      concerning my compensation at Mayer Brown. I sent him my compensation package
 28
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  1
      that same day with my resume in English and Chinese.      See Exhibit 5, a true and correct
  2
      copy of the October 29, 2017 email and its attachments.
  3
            17.   On November 2, 2017, Jerry Wang sent me a Chinese article and a message
  4
      stating “Dear Mr. Liu, please refer to the latest information above, recently there are
  5
      some negative rumors going on in China, these are all completely fake and I hope won’t
  6
      influence your judgment, appreciated and I sincerely look forward to your reply.”      See
  7
      Exhibit 6, a true and correct copy of Jerry Wang and my conversation.
  8
            18.   Between November 2 and 15, 2017, I did not have substantive discussions
  9
      with FF concerning my potential employment. On November 16, 2017, Jerry Wang
 10
      sent me an email with the subject line “FF US employment contract.” See Exhibit 7, a
 11
      true and correct copy of the email and its attachments. The email contained multiple
 12

 13
      attachments, including an offer letter template (“the “Offer Template”). See generally

 14
      id. at 4. Jerry Wang soon after sent me a message stating: “I’ve shared standard FF

 15
      package for your view to your personal gmail address.”     See Exhibit 6

 16         19.   After Jerry Wang sent me the Offer Template, I confirmed with him that I
 17   should “fill those terms that we have so far agreed on and those we have been discussing
 18   into the form letter agreement you provided.”   See Exhibit 6. Jerry Wang responded,
 19   “Sounds good, thanks a lot Mr. Liu!”      See id.   During this time Jerry Wang and I
 20   agreed to change the equity grant from 2% to 3%. On November 21, 2017, I emailed
 21   Jerry Wang the employment contract (entitled “Term Sheet”) with the terms filled in
 22   based on our prior discussions. Exhibit 7A is a true and correct copy of this email and
 23   attachment. No further substantive discussions took place until December 29, 2017.
 24   FF Sends the Executed Engagement Letter to Phil Recht at Mayer Brown
 25
            20.   On December 22, 2017, Amanda Walker, FF’s Corporate Counsel, emailed
 26
      Phil Recht FF’s signed Mayer Brown and FF engagement letter, which had been sent on
 27
      October 20, 2017. FF did not update the date from October 20 to December 22, 2017.
 28
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  1
      Ms. Walker stated in her December 22, 2017 email: “Attached please also find the
  2
      supplemental engagement letter that one of your colleagues had requested back in
  3
      October to reinitiate the engagement.” See Exhibit 8. I was not copied on this email.
  4
      See id. Later that day, Phil Recht forwarded me the engagement letter and I signed it.
  5
      The fully executed agreement was sent later that day to FF.
  6
      FF’s Human Resources Team, In-House Attorneys and Sidley Austin LLP,
  7   Negotiate the Terms of My Employment
  8
            21.   On December 29, 2017, Jerry Wang called me and invited me to visit FF’s
  9
      offices in California on January 10, 2018. On January 1, 2018, Mr. Wang then emailed
 10
      me and attached an updated term sheet contract in clean and redline form. See Exhibit
 11
      9. Mr. Wang’s email stated, “Happy New Year! Please refer to attachment comments
 12
      based on our discussion and previous term sheet, please let me know your feedback and
 13
      sincerely look forward to partnership!” See Exhibit 9.
 14
            22.   On January 10, 2018, I met in person with Mr. Jia, who was then CEO of
 15
      FF, and it was there that Mr. Jia divided my compensation package into two agreements:
 16
      the Stock Transfer Agreement (which eventually became the Director Compensation
 17

 18
      Agreement between Mr. Jia and me) and the Employment Agreement (between FF and

 19
      me). The equity interest that was promised to me was subdivided between the two

 20   agreements. See Exhibit 10, a true and correct copy of an email with my equity interest
 21   divided between the two agreements. Mr. Jia was not a client of Mayer Brown; while I
 22   worked at Mayer Brown, I never provided him with legal advice.
 23         23.   Between January 10 and January 26, 2018, Mr. Wang and I exchanged
 24   multiple drafts of the Employment Agreement and Stock Transfer Agreement.
 25   Throughout my negotiations with FF I was told by Mr. Wang that FF’s in house
 26   attorneys, FF’s outside counsel Sidley Austin LLP, and FF’s Human Resources (“HR”)
 27   team were reviewing both agreements. On January 22, 2018, Jerry Wang told me “Thank
 28
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  1
      you, manager Liu, for accepting my modifications to the Employment Agreement. I
  2
      no longer have any issues with this agreement. Ultimately the HR director DG will need
  3
      to review it. If he also does not have any other issue with it, we can then finalize it.”
  4
      Attached is Exhibit 11, a true and correct copy of the translated message. On January
  5
      25, 2018, I was told in writing that FF’s internal Legal Department was “working closely
  6
      with HR in doing the final review.”      See Exhibit 12, a true and correct copy of the
  7
      translated message. On January 26, 2018, I was told that “Sidley’s company partner
  8
      VJ is reviewing this agreement for us right now to make sure there is no violation of any
  9
      stipulations with investors.” See Exhibit 13, a true and correct copy of the translated
 10
      message. On January 26, 2018, Jerry Wang sent a message to myself and Wentao Huang,
 11
      a lawyer who worked in FF’s legal department, “Many thanks to Mr. Huang for your
 12

 13
      coordination for the term(s) of the employment contract(s).” See Exhibit 14, a true and

 14
      correct copy of the translated message exchange between Jerry Wang, Wentao Huang,

 15
      and myself.

 16         24.     Late in the day on January 26, 2018, I signed my Employment Agreement
 17   dated January 25, 2018, and emailed the executed agreement to Jerry Wang. See Exhibit
 18   15, a true and correct copy of the email correspondence and attachments. FF sent me
 19   back the countersigned agreement that same day. See Exhibit 16, a true and correct copy
 20   of the email exchange and attachments.
 21         25.     However, my compensation and employment terms were not yet complete.
 22   Between January 26 and February 2, 2018, Jerry Wang and I had extensive negotiations
 23   over the Stock Transfer Agreement. Sidley Austin LLP, FF’s external counsel, through
 24   Jerry Wang, continued to be involved in the drafting process. On January 30, 2018, Jerry
 25   Wang sent me an updated redline of the Stock Transfer Agreement and told me to
 26   “Please take a look this version drafted by company external counsel Sidley, and I make
 27
      it clear to make it unchanged as much as possible and reflect all business terms that we
 28
                                                   7
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  1
      mutually agreed. Please let me know if we need to do a call to explain further, and
  2
      Sidley is happy to arrange a conference call together with us to walk through and discuss
  3
      solutions.”    See Exhibit 17, a true and correct copy of the email exchange and
  4
      attachments. The Stock Transfer Agreement was completely revised by Sidley Austin
  5
      LLP and its title had changed to the Director Compensation Agreement. See id.
  6
            26.     Later on January 30, 2018, I applied edits to the Director Compensation
  7
      Agreement and sent Jerry Wang a revised version. Jerry Wang responded with new edits
  8
      and told me “please let me know if you would like to schedule a call with Sidley to
  9
      briefly discuss how to best describe the specific amount.” See Exhibit 18, a true and
 10
      correct copy of the email exchange and attachments. At 10:33 PM, on January 30, 2018,
 11
      after further negotiations, Jerry Wang sent me comments on the Director’s
 12

 13
      Compensation Agreement and told me “if you think it is fine I will forward to Sidley

 14
      and discuss with them.” See Exhibit 19, a true and correct copy of the email exchange

 15
      and attachments.

 16         27.     After further exchanges of drafts of the Director Compensation Agreement
 17   between Jerry Wang and I, on February 1, 2018, Jerry Wang passed along what he
 18   described as a comment from Sidley: “thanks Jerry – this is better, but still carries
 19   moderate risk of breach of the shareholders agreement (and will have to be disclosed in
 20   connection with an IPO).” See Exhibit 20, a true and correct copy of the email exchange
 21   and attachments.
 22         28.     On February 2, 2018, Mr. Jia and I signed the Directors Compensation
 23   Agreement and I emailed Jerry Wang my executed copy. See Exhibit 21, a true and
 24   correct copy of the email exchange and attachments. On February 7, 2018, I officially
 25   resigned from my partnership at Mayer Brown. See Exhibit 22.
 26

 27

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  1
      I Begin Working At FF
  2
            29.    After signing the Employment Agreement and Director Compensation
  3
      Agreement, I relocated with my family from New York to California and began working
  4
      at FF on February 15, 2018.
  5
            30.    Within my first week on the job, FF assisted me in registering with the State
  6
      Bar of California as in-house counsel, which occured on April 17, 2018. See Exhibit 23,
  7
      a true and correct copy of the email exchange between Sandy Gilliam of FF and myself;
  8
      see also Exhibit 24, a true and correct copy of my certificate of registration for in-house
  9
      counsel with FF.
 10
            31.    My job duties at FF included leading the legal affairs and coordinating
 11
      administrative functions of FF, including but not limited to overseeing the expansion of
 12

 13
      the legal team, managing the development of policies and procedures, hiring additional

 14
      in-house lawyers to enhance the FF legal department, and coordinating external counsels

 15
      and internal litigations.

 16         32.    On August 1, 2018, FF issued a press release formally announcing my
 17   hiring. See Exhibit 25, a true and correct copy of the August 1, 2018 press release.
 18         33.    On or about October 25, 2018, I was informed that my 20,000,000 options
 19   were entered into FF’s stock option system provided by a third party, Solium.       In late
 20   October 2018, Smart King’s board of directors passed a resolution granting my
 21   20,000,000 options in Smart King pursuant to the Employment Agreement.              On or
 22   about January 2019, I confirmed online that my options had been issued.        See Exhibit
 23   26, a true and correct copy of the confirmation that my options had been issued.
 24   My Attempts to Stop Illegal Work-Place Violations & Advise FF Through The
 25   Evergrande Dispute
 26         34.       My work at FF included helping FF when its largest investor,
 27   Evergrande, backed out of its funding commitment in August 2018 (the “Evergrande
 28
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 1
     Dispute”).
 2

 3

 4

 5

 6
                                            See, e.g., Exhibit 27,
 7

 8

 9
           35.
10

11

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13

14

15
           36.

16

17

18

19

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21

22

23

24         37.     While after October 2018 I no longer held my Global General Counsel
25   position title and no longer was included as a legal counsel at legal department meetings,
26   I continued to report on and try to correct workplace violations.
27

28
                                                   10
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 1

 2
                                                                                           My
 3
     duties being stripped and my advice not being taken eventually culminated with me
 4
     sending an email to Yueting Jia himself on January 23, 2019. The email stated that:
 5
                 As is widely known, at least since October 2018, my
 6               management responsibilities have been continuously reduced,
 7               removed and replaced by you, and my authority and support
                 in performing my duties have also diminished, all without my
 8
                 advance knowledge or agreement. I have been very concerned
 9               about these actions, and I have protested to you many times
                 during our past conversations. I have previously expressed to
10
                 you my grave concern regarding the company’s failure to
11               comply with the laws of the State of California and the United
12
                 States, as well as the company’s failure to build a best practice
                 in corporate governance. For example, I have directly
13               expressed my views to you and others at the company on how
14               to best comply with laws regarding many company practices,
                 including but not limited to, your improper authorization of
15               the recording of meetings without required consent;
16               immigration and work permit compliance issues which you
                 have ignored; failing to adequately investigate sexual
17
                 harassment complaints against management especially your
18               close associates; retaliation against employees who have
                 raised concerns regarding financial issues; and timely
19
                 compliance with the WARN Act. I have also constantly
20               reminded you to resolve your personal situations as someone
21
                 identified as a repeated “Dishonest Person” by the Chinese
                 courts, and to try to resolve your numerous personal lawsuits.
22               I have also advised you to address the reports about your other
23               possible legal issues and financing dealings, including the
                 surprise visits by the US FBI to you in May 2018, so that these
24
                 issues will not hurt the company and its stakeholders including
25               you yourself. I sincerely wish that you had not and would not
                 retaliate against me for what I have done in performing my
26
                 responsibilities and duties.
27
     See Exhibit 29, a true and correct copy of the email exchange.
28
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 1

 2         38.     I was terminated from my position without being given any cause roughly
 3   three weeks later on February 11, 2019. Mr. Jia told me during my termination meeting
 4   that my effort and suggestion to remove Mr. Jia and save the company was the reason
 5   for my termination. Defendants now suggest something different: in their most recent
 6   counterclaims, they claim to have terminated me because, among other reasons, I failed
 7   to advise on the WARN Act and with respect to recording management meetings. As set
 8   forth above, these allegations are demonstrably false.
 9
           39.    After my termination, FF never vested my 20,000,000 Smart King Options.
10
     I was never paid $2.4 million of my $3 million signing bonus and I was never paid the
11
     remaining $4 million of my $5 million guaranteed base salary over the five year
12
     employment term in the Employment Agreement.
13
           I declare under penalty of perjury that the foregoing is, to the best of my
14
     knowledge and belief, true and correct.
15

16
     Dated:       May 18, 2021
                                               /s/ Hong Liu
17                                             Hong Liu
18

19

20

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                                  DECLARATION OF HONG LIU
                                 CASE NO.: 2:20- CV-08035-SVW-JPR
